
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-05-004-CV





JOHANNA BELL AND								APPELLANT

ALL OCCUPANTS



 &nbsp;&nbsp;V. 



MARK GREER									 &nbsp;APPELLEE	





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FROM COUNTY COURT AT LAW NO. 1 OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On April 21, 2005, we notified appellant that the trial court clerk responsible for preparing the record in this appeal informed the court that payment arrangements had not been made to pay for the record as required by T
EX.
 R. A
PP.
 P. 35.3(a)(2). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant, within fifteen days, made arrangements to pay for the record and provided this court with proof of payment. &nbsp;

Because appellant has not made payment arrangements for the record, it is the opinion of the court that the appeal should be dismissed for want of prosecution. 
 &nbsp;Accordingly, we dismiss the appeal. &nbsp;
See
 T
EX
. R. A
PP
. P. 37.3(b), 42.3(b).

Appellant shall pay all costs of the 
appeal, for which let execution issue.



PER CURIAM 			



PANEL D:	LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



DELIVERED: May 19, 2005



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




